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                           UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:                                                   Misc. Case No. 15-00204 (TPA)

  ALL MATTERS RELATED TO NORTH
  AMERICAN REFRACTORIES
  COMPANY, et al. in Case No. 02-20198, as                 Chapter 11
  affected by the May 24, 2013 Order
  Entering Final Decree entered at Doc. No.
  7940
         Debtors


  HONEYWELL INTERNATIONAL INC.,                            Adv. No. 21-2097

                                Plaintiff,                 Related to Doc. Nos. 175, 201, 203,
                                                                                214, 231 & 235
                 v.

  NORTH AMERICAN REFRACTORIES
  COMPANY ASBESTOS PERSONAL
  INJURY SETTLEMENT TRUST,

                                Defendant.


                 JOINT STIPULATION TO DISMISS MOTIONS OF
             HONEYWELL INTERNATIONAL INC. AND VINSON LAW, P.A.

        Plaintiff Honeywell International Inc. (“Honeywell”) and non-party Vinson Law, P.A.

 (“Vinson”), by and through their undersigned counsel, respectfully stipulate as follows:

        1.      On November 9, 2021, Honeywell served a subpoena issued in this action on

 Vinson.

        2.      On November 23, 2021, Vinson filed an Objection to and Motion to Quash

 Subpoena and Objection to Transfer in the U.S. District Court for the Middle District of Florida

 (the “Vinson Motion”).
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        3.     On December 6, 2021, Honeywell filed Combined Motions to Compel, Transfer,

 or Expedite, and an Opposition to the Vinson Motion (the “Honeywell Motion,” and together with

 the Vinson Motion, the “Motions”).

        4.     On December 27, 2021, the U.S. District Court for the Middle District of Florida

 transferred the Motions of Vinson and Honeywell to this Court.

        5.     On January 26, 2022, Honeywell and Vinson filed a Joint Stipulation and Consent

 Order concerning the Motions.      In the Joint Stipulation, Vinson agreed to produce certain

 documents to Honeywell, and Honeywell and Vinson agreed that upon compliance with the terms

 of the Joint Stipulation, “Vinson shall be deemed to have fully discharged its duties under the

 Subpoena. Honeywell shall then withdraw the Honeywell Motion without prejudice, and Vinson

 shall withdraw the Vinson Motion without prejudice.” Dkt. 231, ¶ 6.

        6.     On January 26, 2022, the Court “so ordered” the Joint Stipulation. See Dkt. 235.

        7.     Honeywell and Vinson have met and conferred and agree that Vinson has produced

 documents in conformance with the Joint Stipulation.

        8.     For these reasons, Honeywell respectfully requests that the Court dismiss the

 Honeywell Motion without prejudice, and Vinson respectfully requests that the Court dismiss the

 Vinson Motion without prejudice.




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 Dated this 31st day of March, 2022.

  VINSON LAW, P.A.                                HONEYWELL INTERNATIONAL INC.


  /s/Harley E. Riedel                             /s/Michael P. Kruszewski
  Harley E. Riedel                                Michael P. Kruszewski
  Florida Bar No. 183628                          QUINN, BUSECK, LEEMHUIS,
  STICHTER, RIEDEL, BLAIN &                       TOOHEY & KROTO, INC.
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